                                    Case 8:20-cv-02344-JLS-KES Document 74-1 Filed 09/08/21 Page 1 of 12 Page ID
                                                                     #:2186


                                1   LEON J. PAGE, COUNTY COUNSEL
                                    NICOLE M. WALSH, SENIOR ASSISTANT (CA SBN 248222)
                                2   nicole.walsh@coco.ocgov.com
                                    CAROLYN M. KHOUZAM, DEPUTY (CA SBN 272166)
                                3   carolyn.khouzam@coco.ocgov.com
                                    333 West Santa Ana Boulevard, Suite 407
                                4   Santa Ana, California 9270
                                    Telephone: (714) 834-3300
                                5   Facsimile: (714) 834-2359
                                6
                                    Attorneys for Defendants BARRY RONDINELLA,
                                7   in his official capacity as Airport Director of
                                    John Wayne Airport; and COUNTY OF ORANGE, CALIFORNIA
                                8
                                9                           UNITED STATES DISTRICT COURT
                                                           CENTRAL DISTRICT OF CALIFORNIA
                               10                                SOUTHERN DIVISION
                               11
                                    DELUX PUBLIC CHARTER, LLC D/B/A                    Case No. 8:20-cv-02344-JLS-KES
                                    JSX AIR AND JETSUITEX, INC,
OFFICE OF THE COUNTY COUNSEL




                               12
                                                                                       Assigned to the
      COUNTY OF ORANGE




                               13                                                      Honorable Josephine L. Staton
                                                        Plaintiff,
                               14                                                      Magistrate Judge
                                                                                       Honorable Karen E. Scott
                               15         v.
                                                                                       DECLARATION OF MELISSA C.
                               16                                                      ALLISON IN SUPPORT OF
                                    COUNTY OF ORANGE, CALIFORNIA, a                    DEFENDANTS’ APPLICATION
                               17   charter county; BARRY RONDINELLA,                  TO MODIFY THE SCHEDULING
                                    in his official capacity as Airport Director of    ORDER
                               18   John Wayne Airport.
                               19
                                                        Defendants.
                               20
                               21
                               22                       DECLARATION OF MELISSA C. ALLISON
                               23         I, MELISSA C. ALLISON, declare as follows:
                               24         1.     I am a Partner at the law firm of Anderson & Kreiger LLP in Boston,
                               25   Massachusetts and a member in good standing with the Massachusetts bar. My firm was
                               26   recently engaged to represent the Defendants, COUNTY OF ORANGE and BARRY
                               27   RONDINELLA (collectively, the “County”) in this action. My application to appear pro
                               28   hac vice in this case will be filed shortly with the Court.


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                                                                     #:2187


                                1         2.     I have personal knowledge of the facts stated below, and I believe them to be
                                2   true. If called as a witness, I could and would competently testify under oath to the
                                3   matters stated herein.
                                4         3.     On August 24, 2021, the Board of Supervisors of the County of Orange
                                5   voted to retain Anderson & Kreiger, LLP to take the lead in defense of this case.
                                6         4.     On August 30, 2021, I spoke to counsel for the Plaintiffs, William O’Connor
                                7   of Cooley LLP, by telephone, and advised him that I had a proposal regarding the
                                8   scheduling order and upcoming depositions. He responded that his co-counsel would
                                9   probably be handling scheduling issues. I offered to put my proposal in writing, so that
                               10   Mr. O’Connor could circulate it to his-co-counsel. On the evening of August 30, I sent
                               11   an email to Mr. O’Connor, proposing that the parties agree to an extension of 8 weeks for
OFFICE OF THE COUNTY COUNSEL




                               12   each date on the Scheduling Order and to postpone scheduled depositions for a few
      COUNTY OF ORANGE




                               13   weeks. This proposal was based on the need for my firm, as newly retained counsel, to
                               14   get up to speed in the case without causing any undue delay. I asked Mr. O’Connor to
                               15   circulate the proposal to his co-counsel. Neither Mr. O’Connor nor his co-counsel
                               16   responded to that email proposal.
                               17         5.     The following day, I emailed the proposal again to Mr. O’Connor again, this
                               18   time copying his co-counsel at Cooley LLP, Parker Erkmann and Andrew Barr. I
                               19   received no response to that email. I followed-up with Messrs, O’Connor, Erkmann and
                               20   Barr twice more (on September 1 and September 3). In my final email, I stated that the
                               21   County would be filing this application to extend the scheduling order and postpone the
                               22   depositions on Tuesday, September 7. I received no response. A true and correct copy of
                               23   this email exchange is attached as Exhibit A.
                               24         6.     On the evening of Monday, September 6, I received an email from Mr.
                               25   O’Connor stating that Cooley LLP would be taking steps to withdraw from this case
                               26   shortly. A true and correct copy of this email is attached as Exhibit B.
                               27         7.     On Tuesday, September 7, the County’s counsel, Nicole Walsh, sent an
                               28   email to Plaintiffs’ counsel (other than Cooley LLP), asking for Plaintiff’s position on


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                                    Case 8:20-cv-02344-JLS-KES Document 74-1 Filed 09/08/21 Page 3 of 12 Page ID
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                                1   this request for a continuance and rescheduling of depositions. Plaintiff’s counsel,
                                2   Richard Bridgford, was unable to share his client’s position at that time, and said he
                                3   would try to reach his client. A copy of that email exchange is attached as Exhibit C.
                                4
                                5         I declare under penalty of perjury under the laws of the State of California that the
                                6   foregoing is true and correct.
                                7
                                8         Executed September 8, 2021, at Concord, Massachusetts.
                                9
                               10                                                       By:          /s/
                               11                                                       Melissa C. Allison
OFFICE OF THE COUNTY COUNSEL




                               12
      COUNTY OF ORANGE




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                                 #:2189




                           EXHIBIT A
           Case 8:20-cv-02344-JLS-KES Document 74-1 Filed 09/08/21 Page 5 of 12 Page ID
                                            #:2190

Nina Pickering-Cook

From:                              Melissa C. Allison
Sent:                              Friday, September 3, 2021 12:42 PM
To:                                'woconnor@cooley.com'
Cc:                                'perkmann@cooley.com'; 'abarr@cooley.com'; 'Walsh, Nicole'; Christina S. Marshall;
                                   Nina Pickering-Cook
Subject:                           RE: JSX v. County of Orange


Bill, Parker, Andrew:

I have received no response to my emails below. Going forward, as a matter of professional courtesy, I’d appreciate a
response to a request to confer. On Tuesday, the County intends to file an application for a continuance and to postpone
deposition dates correspondingly, as proposed in my email sent on August 30.

Regards,
Melissa

From: Melissa C. Allison
Sent: Wednesday, September 1, 2021 2:44 PM
To: 'woconnor@cooley.com' <woconnor@cooley.com>
Cc: 'perkmann@cooley.com' <perkmann@cooley.com>; 'abarr@cooley.com' <abarr@cooley.com>; 'Walsh, Nicole'
<Nicole.Walsh@coco.ocgov.com>; Christina S. Marshall <cmarshall@andersonkreiger.com>; Nina Pickering‐Cook
<pickering@andersonkreiger.com>
Subject: RE: JSX v. County of Orange

Bill, Parker, Andrew:

I haven’t received a response to my invitation for a call to discuss the proposal below. Please call me before the end of
the day. You can reach me on my cell at 617.852.0423.

Thanks,
Melissa

From: Melissa C. Allison
Sent: Tuesday, August 31, 2021 4:32 PM
To: 'woconnor@cooley.com' <woconnor@cooley.com>
Cc: 'perkmann@cooley.com' <perkmann@cooley.com>; 'abarr@cooley.com' <abarr@cooley.com>; 'Walsh, Nicole'
<Nicole.Walsh@coco.ocgov.com>; Christina S. Marshall <cmarshall@andersonkreiger.com>
Subject: FW: JSX v. County of Orange

Hi Bill,

I haven’t heard from your co-counsel regarding my email below. I’m copying Parker Erkmann and Andrew Barr here.

Parker, Andrew: as Bill probably told you, my firm has just been retained as outside counsel to the County. Please see
the email below, which I sent to Bill last night. He mentioned you would be handling these issues. Please let me know
your availability today before 7 p.m. or tomorrow to discuss this request.

Thanks,
Melissa




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          Case 8:20-cv-02344-JLS-KES Document 74-1 Filed 09/08/21 Page 6 of 12 Page ID
                                           #:2191
                              Melissa Cook Allison
                              T. 617.621.6512 | F. 617.621.6612
                              Anderson & Kreiger LLP | 50 Milk Street, 21st Floor, Boston, MA 02109


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From: Melissa C. Allison
Sent: Monday, August 30, 2021 9:51 PM
To: 'woconnor@cooley.com' <woconnor@cooley.com>
Cc: Christina S. Marshall <cmarshall@andersonkreiger.com>; 'Walsh, Nicole' <Nicole.Walsh@coco.ocgov.com>
Subject: JSX v. County of Orange

Hello, Bill:

Thanks for returning my call. I understand that your co-counsel will likely be handling the scheduling of depositions, so
please pass along this email. I’m happy to talk to you or your co-counsel tomorrow.

First, thanks for agreeing to an additional week for service of written discovery responses. As I mentioned when we
spoke last week, I’d like to discuss a short postponement of scheduled depositions and a corresponding extension of the
case deadlines. A&K intends to help the County shepherd this case through the final phases of discovery and reach a
prompt resolution. As new counsel, my colleagues and I need some time to get up to speed – and, in particular, to
prepare for upcoming depositions. But we are not looking to cause any undue delay.

To that end, I propose that the parties agree to (i) move Plaintiffs’ noticed depositions currently scheduled for the week of
Sept 13 to the weeks of Oct 11 and/or 18; and (ii) move Defendants’ noticed depositions currently scheduled for week of
Oct 4 to the weeks of November 1 and/or 8.

We realize this would necessitate a short extension of the case deadlines. We propose a new discovery cut-off of
December 17 (an 8-week extension of the current deadline) and a
summary judgment deadline of Jan 14 (building in an extra week due to the holidays). This extension will not delay
resolution of the case: as I understand it, the motion to dismiss will not even be heard until December 10, and both sides
have served new written discovery requests within the last month.

I have some flexibility in my schedule on Tuesday to discuss this proposal. Please let me know what time works for
you/your colleagues.

Thanks,
Melissa




                              Melissa Cook Allison
                              T. 617.621.6512 | F. 617.621.6612
                              Anderson & Kreiger LLP | 50 Milk Street, 21st Floor, Boston, MA 02109


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                                 #:2192




                           EXHIBIT B
        Case 8:20-cv-02344-JLS-KES Document 74-1 Filed 09/08/21 Page 8 of 12 Page ID
                                         #:2193

Nina Pickering-Cook

From:                              Walsh, Nicole <Nicole.Walsh@coco.ocgov.com>
Sent:                              Tuesday, September 7, 2021 2:46 PM
To:                                O'Connor, William V; Melissa C. Allison
Cc:                                Erkmann, Parker; Barr, Andrew D; Christina S. Marshall; Nina Pickering-Cook; Khouzam,
                                   Carolyn; richard.bridgford@bridgfordlaw.com; mike.artinian@bridgfordlaw.com;
                                   Raymond L Moss
Subject:                           RE: JSX v. County of Orange



Bill:

Thanks you for this information. Because a withdrawal in the Central District under these
circumstances requires Court permission (https://www.cacd.uscourts.gov/attorneys), we would still
like to receive feedback from someone on the team about our request for continued deposition and
scheduling order dates. I am cc’ing Ray and the Bridgford attorneys as we hope to receive an answer
today and need to file a request asap if agreement cannot be reached.

Thanks,

Nicole Walsh
Senior Assistant County Counsel
(714) 834-6257

From: O'Connor, William V <woconnor@cooley.com>
Sent: Monday, September 6, 2021 7:00 PM
To: Melissa C. Allison <mallison@AndersonKreiger.com>; Walsh, Nicole <Nicole.Walsh@coco.ocgov.com>
Cc: Erkmann, Parker <perkmann@cooley.com>; Barr, Andrew D <abarr@cooley.com>; Christina S. Marshall
<cmarshall@andersonkreiger.com>; Nina Pickering‐Cook <pickering@andersonkreiger.com>; Khouzam, Carolyn
<Carolyn.Khouzam@coco.ocgov.com>
Subject: JSX v. County of Orange

 Attention: This email originated from outside the County of Orange. Use caution when opening attachments or links.

Dear Melissa and Nicole,

I am writing to notify you that tomorrow, Cooley will be taking action to withdraw as counsel for Plaintiffs in this
case. Thank you.

Best,

Bill

William V. O’Connor
Cooley LLP
4401 Eastgate Mall
San Diego, CA 92121-1909
Direct: (858) 550-6002 • Cell: (858) 717-5230
Email: woconnor@cooley.com • www.cooley.com



                                                             1
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                                           #:2194
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                                  #:2195




                            EXHIBIT C
         Case 8:20-cv-02344-JLS-KES Document 74-1 Filed 09/08/21 Page 11 of 12 Page ID
                                           #:2196

Nina Pickering-Cook

From:                              R Bridgford <richardbridgford@icloud.com>
Sent:                              Tuesday, September 7, 2021 5:46 PM
To:                                Walsh, Nicole
Cc:                                O'Connor, William V; Melissa C. Allison; Erkmann, Parker; Barr, Andrew D; Christina S.
                                   Marshall; Nina Pickering-Cook; Khouzam, Carolyn;
                                   richard.bridgford@bridgfordlaw.com; mike.artinian@bridgfordlaw.com; Raymond L
                                   Moss
Subject:                           Re: JSX v. County of Orange


Nicole

Thanks for your email.

To date Cooley has handled discovery. Hence, I have left your emails and Anderson’s for Cooley’s response.

Moreover, this is the first I have heard that jsx and cooley have reached an impasse and that cooley will actually be filing
a motion to withdraw.

In re a response to your email and discovery and motion dates, my client contact is out of the country now. (We have a
9 hour time difference). Additionally, I am informed he is currently celebrating the jewish holiday.. Nonetheless, I have
an email into him. Once I have heard back and I have spoken with him someone will get back to you.

Thanks.

Rich Bridgford




          On Sep 7, 2021, at 11:46 AM, Walsh, Nicole <Nicole.Walsh@coco.ocgov.com> wrote:


          Bill:

          Thanks you for this information. Because a withdrawal in the Central District under
          these circumstances requires Court permission
          (https://www.cacd.uscourts.gov/attorneys), we would still like to receive feedback from
          someone on the team about our request for continued deposition and scheduling order
          dates. I am cc’ing Ray and the Bridgford attorneys as we hope to receive an answer
          today and need to file a request asap if agreement cannot be reached.

          Thanks,

          Nicole Walsh
                                                             1
Case 8:20-cv-02344-JLS-KES Document 74-1 Filed 09/08/21 Page 12 of 12 Page ID
                                  #:2197
Senior Assistant County Counsel
(714) 834-6257

From: O'Connor, William V <woconnor@cooley.com>
Sent: Monday, September 6, 2021 7:00 PM
To: Melissa C. Allison <mallison@AndersonKreiger.com>; Walsh, Nicole
<Nicole.Walsh@coco.ocgov.com>
Cc: Erkmann, Parker <perkmann@cooley.com>; Barr, Andrew D <abarr@cooley.com>; Christina S.
Marshall <cmarshall@andersonkreiger.com>; Nina Pickering‐Cook <pickering@andersonkreiger.com>;
Khouzam, Carolyn <Carolyn.Khouzam@coco.ocgov.com>
Subject: JSX v. County of Orange

 Attention: This email originated from outside the County of Orange. Use caution when opening attachments or links.

Dear Melissa and Nicole,

I am writing to notify you that tomorrow, Cooley will be taking action to withdraw as counsel for
Plaintiffs in this case. Thank you.

Best,

Bill

William V. O’Connor
Cooley LLP
4401 Eastgate Mall
San Diego, CA 92121-1909
Direct: (858) 550-6002 • Cell: (858) 717-5230
Email: woconnor@cooley.com • www.cooley.com



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